Case 23-13359-VFP Doc 931-1 Filed 06/23/23 Entered 06/23/23 15:44:37                              Desc
            Exhibit 1- Detail Supporting Cure Objection Page 1 of 22
                              SAUL           HOLDINGS
                          LIMITED            PARTNERSHIP
            7501 Wisconsin Avenue, Suite 1500, Bethesda, Maryland 20814-6522
                                            (301) 986-6200

                                               April 14, 2023


Via Federal    Express
Bed Bath & Beyond Inc.
650 Liberty Avenue
Union, New Jersey 07083.

Ladies   and Gentlemen:


       Referenceis made to that Lease Agreement dated as of September12, 1997 (as amended
and/or modied thereafter, the “Lease”) by and between Saul Holdings Limited Partnership
("Landlord") and Bed Bath & Beyond Inc. (“Tenant”) With respect to premises (“Premises”)
located at French Market Shopping Center in Oklahoma City, Oklahoma (“Shopping Center”).

         PLEASE     TAKE    NOTICE   that    Landlord   has received   notice   of the Lien   Statements
led in the Oklahoma County Clerk’s Ofce listed below Which claim mechanic’s liens as a
result of work performed in the Premiseson behalf of Tenant (the “Mechanic’s Liens”):

       1.    Lien Statementdated December 12, 2022 led by Federal Heath Sign Company
LLC claiming the amount of $44,371.80, a copy of Which is attached to this notice as Exhibit A;
and


      2.     Lien Statementdated April 3, 2023, led by Advanced Systems,Inc. claiming the
amount of $88,059.10, a copy of which is attachedto this notice as Exhibit B.

        PLEASE TAKE FURTHER NOTICE that Section 54 0f the Lease provides as follows:
“Whenever and as often as any lien arising out 0f or in connection with any work performed,
materials furnished or obligations incurred by or on behalf of Tenant shall have been led
against the Premises or the Shopping Center, or if any materials, machinery or xtures used in
the construction, repair or operation thereof, or annexed thereto by Tenant, Tenant shall
forthwith take such action by bonding, deposit or payment as will remove or satisfy the lien or
conditional bill of sale within thirty (30) days of Landlord’s written request therefor.”

        PLEASE TAKE FURTHER NOTICE that Landlord hereby demandsthat Tenant take
all steps necessaryto remove or satisfy the Mechanic’s Liens Within thirty (30) days of Tenant’s
receipt of this notice. Pleaseprovide the undersignedWith copies of evidence of payment or
copies of the bonding 0r satisfaction of the Mechanic’s Liens within thirty (30) days of Tenant’s
receipt of this notice. Please forward such information to the attention of the undersigned at
7501 Wisconsin Avenue, Suite 1500B, Bethesda, Maryland, 20814-6522.
Case 23-13359-VFP Doc 931-1 Filed 06/23/23 Entered 06/23/23 15:44:37                      Desc
            Exhibit 1- Detail Supporting Cure Objection Page 2 of 22


        Bed Bath & Beyond Inc.
        April 14, 2023
        Page 2

       PLEASE TAKE FURTHER NOTICE that if Tenant fails to bond, remove or satisfy
the Mechanic’s Liens Within thirty (30) days of Tenant’s receipt of this notice, Landlord reserves
all of its rights and remedies under Section 18 of the Lease or otherwise available under the
Lease, at law or in equity.


                                     SAUL   HOLDINGS       LIMITED   PARTNERSHIP
                                     By: Saul Centers, Inc., General Partner
                                                1’




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                                     By; { (”\            11/\r,—-<','_'_'f'..L.w“m..,.-.t..u_.___,g
                                                                                 M
                                            Tharles W. Sherfeh,
                                                              Jr.,RPA           1
                                             Senior Vice President, Manage ent




Copies Via Federal Express:

Allan N. Rauch, Esq.
c/o Bed Bath & Beyond Inc.
650 Liberty Avenue, Union, New Jersey 07083

Edward M. Schotz, Esq.
c/o Cole, Schotz, Meisel, Forman & Leonard, P.A.
Court Plaza North
25 Main Street, Hackensack, New Jersey 07602-0800




Enclosures
            Case 23-13359-VFP Doc 931-1 Filed 06/23/23 Entered 06/23/23 15:44:37                                                       Desc
                        Exhibit 1- Detail Supporting Cure Objection Page 3 of 22

                                                                    USPS CERTIFIED              MAIL


       W0 4351973       Oklahoma                                                                                    -   .
       Federal Heath Sign Company LLC .                                                                            "-‘f " “
       1001 W. Cypress Creek Road
       Suite 203
       Fort Lauderdate, FL 33809
                                                            9214 8901 0919 3636 9774 86




                 SAUL HOLDINGS LIMITED PARTNERSHIP              -
                 CORPORATION   SERVICE COMPANY'
                 10300 GREENBRIAR  PLACE
                 OKLAHOMA CITY, OKLAHOMA 73159




       FEDERAL         HEATH   SIGN COMPANY         LLC
  ~ ~ 7501 S. QUINCY#175                   -         '-
       WILLOWBROOK,            ILLINOIS 6052

       December
             09,2022

       SAUL HOLDINGS           LIMITED     PARTNERSHIP      '

       7501 Wisconsin        Ave
       BETHESDA, MARYLAND 20814


       Dear Sir or Madam,

       Enclosed
             youwiilnd A LIENthatisbeingrecorded
                                              inPublic
                                                     Rec0rds
                                                          ofOklahoma
                                                                  County,
                                                                       Oklahoma
                                                                             against
                                                                                  the_
                                                                                     proberty
       describedherein.                                                    1                           ~                ,- .   ,

       2848NW63RDST,OKLAHOMA
                           CITY,OKLAHOMA
                                      73116-4800
                                              '-
        lf you have any questionsor requirefur'ther-clarification
                                                               on this lien,pleasecontactFEDERALHEATHSIGNCOMPANYLLC at
       630-887-6812.
                  Wen callingto inquireaboutanyaspectof thisdocument,
                                                                   pleasereference,
                                                                                 workordernumber;
                                                                                               '4351973.
        We wish you a pleasant day.

        Thank you,
        Federal Heath Sign Company LLC

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        Owner                      9214390109193636977479
                                                  Saul
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                                                                                       Mama“
        Designated
                 Recipient                                           SaulHoldings
                                                                                LimitedPartnership
                                                                                                ~          10300Greenbriar
                                                                                                                        Piace,Oklahoma
                                                                                                                                     City.
        —Certified ‘     ‘         9214890109193636977486            Corporation Service Company             Okiahoma73159
        Begignated Recipient 9214890109193636977493                  Bed Bath& BeyondInc - c/o CT Corporation1833 South MorganRd, OklahomaCity.
        - Certified  -                                               System                                  Oklahoma 73128
        Tenant     '               9214890109193636977509
                                                                     BedBath&Beyond
                                                                                  »164- c/oTaxDept
                                                                     Att n : Lauren Hakoszak'
                                                                                                            650Liberty
                                                                                                            8107
                                                                                                                     Ave.Union,
                                                                                                                              NewJersey
                                                                                                                                      07083—
Case 23-13359-VFP Doc 931-1 Filed 06/23/23 Entered 06/23/23 15:44:37                       Desc
            Exhibit 1- Detail Supporting Cure Objection Page 4 of 22




                    ~ LIEN    ATE - _ .
                W              QR MATERIALMANS LIEN §TATEMENT
                          (Pursuant to Okla. Stat. tit. 42, § 141)

  Know
     allpersons
             bythese
                   presents:
  That the undersignedClaimant,FEDERALHEATH SIGN COMPANYLLC, thse
  address is 7501 8. Quincy #175, Willowbrook, iiiinois 60527, and telephone nIImber 15
  630-887-6812 organized under the laws of the State of Oklahoma,has and claims a
  Mechanic 3 and Materialmans Lien upon the fbllowing described real property
  situated in Oklahoma County, Oklahoma:

   Parcel lsz1093761000      P0294383
   Lots ONE (1) and TWO (2)"In HILLTOPCENTER,an Addition to the City of
   Oklahoma,
        Oklahoma
   thereof
             Couty,
                State
                   ofOklahoma,
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       at2848
           NW 63rd
                St,
                  Oklahoma
                       City,
                          Oklahomai
                               7311041804
                                    together
                                        with
   the structures and appurtenances thereon or thereto.

   That the land, baiiding[e],appurtenancesand improvementsare [owned leased,
   rented managed or other] by: SAUL HOLDINGSLIMITEDPARTNERSHIPof 7501
   Wisconsin  Ave,Bethesda, Maryland 20814 and/or
   Liberty Ave Union, New Jersey 07083 8107 _.
                                               BEDBATH
                                                  . ,
                                                      8:BEYOND  164of650
                                                         . -. . ,.

   That pursuant to Okla Stat tit. 42, § 141, said lien secures the sum of Forty Four ..
   Thousand Three Hundredand Seventy One Dollars and Eighty Cents ($44,371.,80)
  (See attacheddocument)withinterestaccruedandaccruingonthe principaiw                      .—
   balanCe,
        dueandowing
                  toFEDERAL
                         HEATH
                             SIGN
                                COMPANY
                                     LLCbyBEDBATR
                                                &
   BEYOND    164.

   That
      saidpiaim'
              Isbased
                    upon
                       theprovision
                                ofmanufactured
                                          andinstalled
                                                    inteIipr
   signage
         relatedto frontentrance
                               graphics,
                                      interior
                                             decoranddepartment
                                                             navigation
   pursuant to a contract between FEDERAL HEATH SIGN COMPANY LLC and BED
   BATH & BEYOND 164 dated on or about August 07, 2022


   furnished [or the labor last peitormed] under said contract was Auguet 09, 2022; and
Case 23-13359-VFP Doc 931-1 Filed 06/23/23 Entered 06/23/23 15:44:37                                                                             Desc
            Exhibit 1- Detail Supporting Cure Objection Page 5 of 22
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      that this Lien Statement has been filed with the County Clerk within four (4) months of
      said data;

      FEDERAL           HEATH SIGN COMPANY                      LLC
      7501 8. Quincy #175
      Willowbrook, iliindis 60527
      630~887-681        2
             ___,_,._
                  .

      By:                                       .2?£02.»,.
      Todd Earnst, CFO

      STATE OFGKEAHGMA  ILLINOIS
      COUNTY OF GKEAHGMA DUPAGE

      I Todd Earnst, being first duly sworn, state that i am over the age of twenty-cine,
      competent t0 make this affidavit, and that i am the CFO of the Claimant FEDERAL ‘
      HEATH SIGN COMPANY LLC l have read the foregoing Mechanic's and
      Materialman’ s Lien Statement, and state that all facts contained herein and the
      Exhibit(s)
            attached
                  hereto
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                                                                                                - Todd Earnst, CFO

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      Please Record and Return to:
      FEDERAL HEATH SIGN COMPANY                                LLC
      Todd Earnst
      7501 8. Quincy #175
      Wiliowbrook,Illinois60527
      630-887-681 2
      W/O: 4351973
            Case 23-13359-VFP Doc 931-1 Filed 06/23/23 Entered 06/23/23 15:44:37                                                          Desc
                        Exhibit 1- Detail Supporting Cure Objection Page 6 of 22



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W
    VISUAL    COMMUNICATsONs




December 8, 2022

Bed Bath 8LBeyond Inc.
650 Liberty Ave
Union, NI 07083


    Statement        ofAccount


    Store    1143
    Bed Bath 8:.Beyond#164
    2848 NW 63rd Street
    Oklahoma City, OK 73116



    Invoice                   "          Date      ,        Amount             Payments           Balance Due

    32452580054.                    '    8/11/22            44,371.80                 0.00          44,371.80




    Federal Heath Sign Co., LLC
    7501 S. Quincy St, Suite 1?5
    Willowbrook, IL 60527
    630.887.6800    —-Phone
    630.887. 6975 - Fax
    www.federalheath.com

                           Exterior5!gnagel InteriorDécor&5raphlcs 1 DigitatSignaga1 DesignSen/icesJ SpecialtyContracting l Maintenance
                 Case 23-13359-VFP Doc 931-1 Filed 06/23/23 Entered 06/23/23 15:44:37                                                                                        Desc
                             Exhibit 1- Detail Supporting Cure Objection Page 7 of 22


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                 $ VENDOR103870                                                                                              BEDBATH& BEYOND#164._
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                 5 UNION,NJ 070830000                                                                                        OKLAHOMACITY
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    TY? QTY DESIGN#                                                         DESCRIPTION                                                                                   ' ' "
                                                                            2022      STORE REMODEL — PARTS                                    24,973.50
                                                                                                    — INSTALLATION                             13,800.00

                                                                            ORDERED BY LAUREN ROKOSZAK/MICHAEL ROCKS




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    Case 23-13359-VFP Doc 931-1 Filed 06/23/23 Entered 06/23/23 15:44:37                             Desc
                Exhibit 1- Detail Supporting Cure Objection Page 8 of 22
                                                                               320 Robert S. Kerr, Room 203
                           OKLAHOMA             COUNTY                          Oklahoma
                                                                                      City,OK73102
                                            -                                      Ph    :     5-7    -
                              CLERK'S OFFICE                                        15223324127131"
                          KERRIE H UDSON -- Deputy County Cleric                             Email:
                                                                              Landrecords@ok]ahomacounty
                                                                                                      org




SAUL HOLDINGSLP                                        Apr 03, 2023
7501 WISCONSIN      AVE
BETHESDA, MD 20814                                     Return Receipt Requested
                                                       Re: 2023033101039743                               _      "



Notice of Filing Lien Statement
YOU ARE HEREBY NOTIFIED that on 03/31/2023 03:10:55 PM, ADVANCED                   SYSTEMS                    'L} L“
INC (claimant), located at 6627 COMMERCE PKWY, WOODSTOCK, GA 30189 has filed a
LIEN STATEMENT in the COUNTY CLERKS OFFICE, under oath, claiming a lien, the same
being Lien Number against the following described property'and the improvements located
thereon:

HILLTOP    CENTER     Lot: 1 I


Said lien being for labor and/or materials furnished by said Claimant upon the above:
described property, under contract with:

SAUL HOLDINGS        LP                                                                                          311;

YOU ARE FURTHER NOTIFIED that the claimant named above claims said lien against the
above described property and premises in the amount of $88,059.10.

I, KERRIE HUDSON, DEPUTY COUNTY CLERK of OKLAHOMA, do hereby certify that the
original of the within and foregoing NOTICE OF FILING LIEN STATEMENT, was mailed to
the above address shown, on this day, 04/03/2023, by Certified Mail
#                                   , with postage prepaid theron.




KERR'E HUDSON,                                               9171 9690 0935 9293 3349 88
OKLAHOMA      DEPUTY        COUNTY                                    -
Case 23-13359-VFP Doc 931-1 Filed 06/23/23 Entered 06/23/23 15:44:37                                          Desc
            Exhibit 1- Detail Supporting Cure Objection Page 9 of 22




                                                                   2023033101039743    B: 15422 P: 1397
                                                                  03l31l2023 03:10:55 PM P95: 10
                                                                  Fee: $65.72
                                                                  Kerrie Hudson, Deputy County Clerk
                                                                  Oklahoma County - State of Oklahoma



                               LEVELSET


        {W(W3 1121
            NEW JOSEPHINE
                      ST.
               ORLEANS,
                    LA70130

     Prepared and Submitted For Recording By Advanced
     Systems Inc Through Software
     Signed by Sean Galley, as agent of Advanced Systems
     Inc
     Please     Return To SubmntterAt
     Advanced Systems Inc
     Levelset    Mall Center
     9450 SW Gemlm        Dr #7790
     Beaverton, Oregon 97008-7105

     Reference     ID JKDW974FY254


                                                             SPACE ABOVE       FOR RECORDER'S       USE


                          MECHANICS          OR MATERIALMAN'S            LIEN     STA'I'EMEN‘I‘
                                                 Okla. Stat ut. 42, § 141

                                        Stateof Oklahoma| Countyof OklahomaCounty
                                          ML#

     Claimant                                I              Amount of Claim $88,059 10
     Advanced Systems Inc
     6627 CommercePkwy                                      Itemized lnvouceor Statement Supporting Above
     Woodstock, GA 30189                                    Amount As Follows or Attached Hereto
     (770) 591-4655
                                                            General Statement of kmd of work done and/or
     Property Owner                                         materialsfurnished (Servuces)

     Bed
      Bath
         8L
          Beyond
              @
     650 LibertyAve
                                                            Store
                                                              Remode'
                                                              .
     UNION.NJ 07083                                         Date of Contract
                                                            May 09. 2022

                                                            Last Date Labor andlor    Materials   Furnished
     Saul
      Holdings
          LP @
     7501 WlSCOSII'IAve                                     December 23' 2022
     Bethesda, Maryland20814

     The Serwces were performed In construction of Improvementsat the followmg described Property

     State of Oklahoma
     County Oklahoma County

     2848   Northwest   63rd Street
Case 23-13359-VFP Doc 931-1 Filed 06/23/23 Entered 06/23/23 15:44:37                                            Desc
            Exhibit 1- Detail Supporting Cure Objection Page 10 of 22



                                            2023033101039743
                                                          B: 15422P: 1398 03/31/2023
                                                                                   03:10PM Page2 of1”


      Oklahoma CIty. Oklahoma 73116

      Legal Property Description
      LotsOne (1) and Two 9 (2), In HilltopCenter,an Additionto the City of OklahomaCity.OklahomaCounty.State
      of Oklahoma.accordingto the recordedplat thereof

                            IMPORTANTINFORMATIONON THE FOLLOWING PAGE(S)
4/14/23, 11 :20 AM     Case 23-13359-VFP Doc 931-1 Filed   FedEx06/23/23
                                                                 Ship Manager - Entered      06/23/23 15:44:37
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                                   Exhibit 1- Detail Supporting Cure Objection Page 11 of 22
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 After printing this label:
 1. Use the 'Print' button on this page to print your label to your laser or inkjet printer.
 2. Fold the printed page along the horizontaI line.
 3. Place label in shipping pouch and afx it to your shipment so that the barcode portion of the label can be read and scanned.

 Warning: Use only the printed original label for shipping. Using a photocopy ofthis iabel for shipping purposes is fraudulent and could result in additional billing charges, along with the cancellation of your
 FedEx   account   number,
 Use of this system constitutes your agreement to the service conditions in the current FedEx Service Guide. available on fedex.com.FedEx will not be responsible for any claim in excess of $100 per
 package, whether the result of loss. damage, delay, non-delivery,misdelivery,ormisinformation. unless you declare a higher value. pay an additional charge, document your actual loss and file a timely
 claim.Limitations found in the current FedEx Service Guide apply. Your right to recover from FedEx for any loss, including intrinsic value of the package, loss of sales. income interest, prot, attorney's fees,
 costs, and other forms of damage whether direct, incidental,consequentiai, or special is limited to the greater of $100 or the authorized declared value. Recovery cannot exceed actual documented
 loss.Maximum for items of extraordinary value is $1,000. e.g. jewelry, precious metals, negotiable instruments and other items listed in our ServiceGuide. Written claims must be led within strict time limits,
 see current   FedEx    Service   Guide.




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https://www.fedex.com/shipping/shipAction.handle?method=doContinue
4/17/23, 10:49 AM          Case 23-13359-VFP Doc 931-1 Filed 06/23/23            Entered 06/23/23 15:44:37
                                                                       Detailed Tracking                                                    Desc
                                       Exhibit 1- Detail Supporting Cure Objection Page 12 of 22

    FedEx0Tracking                                                                                        Track Another Shipment    Help



    DELIVERED                                                                         DELIVERY   STATUS


                                                                                      Delivered
                                                                                              a
     Monday
    4/17/2023                at10125 am
    Signed for by: MTARAZONA

    i.    Obtain Proof of delivery

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                     Bethesda, MD US

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                     4/14/2023       4:27 PM


                     W TRANSIT

                     MOONACHIE,         NJ
                     4/17/2023       6:32 AM


                     OUT      FOR   DELIVERY

                     MOONACHIE,         NJ
                     4/17/2023       8:12 AM


                     DELIVERED

                     HACKENSACK, NJ US

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                     4/17/2023       at 10:25 AM


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         Want updates on this shipment? Enter your email and we will do the rest!


           YOUR      EMAIL                                                                                               SUBMIT


         MORE      OPTlONS




            Manage Delivery




    Shipment
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    ® Shipmentoverview
         TRACKING          NUMBER                            397016522752

         DELIVERED           TO                              Mailroom


         SHIP DATEQ;                                         4/14/23

         STANDARDTRANSITC7)                                  4/17/23 before 4:30 pm

         ACTUAL      DELIVERY                                4/17/23    at 10:25 am


    Q3 Services
         SERVICE                                             FedEx Standard Overnight

         TERMS                                               Shipper

         SPECIAL      HANDLING          SECTION              Deliver Weekday


     [.3 Packagedetails
         WEIGHT                                              0.5 lbs / 0.23 kgs

         TOTAL      PIECES                                   1


         TOTAL      SHIPMENT        WEIGHT                   0.5 lbs / 0.23 kgs

          PACKAGING                                          FedEx Envelope


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                                                                Detailed Tracking                                                                                                      Desc
                                Exhibit 1- Detail Supporting Cure Objection Page 13 of 22

     Friday, 4/14/2023                         10:19     AM



                                               Shipment information sent to FedEx

                                               4:27    PM



                                               Shipment arriving On—Time
                                               ROCKVILLE. MD

                                               4:27    PM



                                               Picked    up

                                               ROCKVILLE, MD

                                               9:10    PM



                                               Left FedEx origin facility
                                               ROCKVILLE, MD

                                               11:28     PM



                                               Arrived      at FedEx hub

                                               MEMPHIS. TN




     Saturday, 4/15/2023                       2:56 AM



                                               Departed FedEx hub
                                               MEMPHIS. TN

                                               6:03 AM



                                               Arrived      at FedEx   hub

                                               NEWARK, NJ

                                               7:32 AM



                                               Departed FedEx hub
                                               NEWARK, NJ

                                               8:12 AM



                                               At local FedEx facility
                                               MOONACHIE,         NJ

                                               8:12AM



                                               At local FedEx facility
                                               Package not due for delivery
                                               MOONACHIE, NJ




     Monday, 4/17/2023                         6:32 AM



                                               At local FedEx facility
                                               MOONACHIE,         NJ

                                               8:12AM



                                               On FedEx vehicle for delivery
                                               MOONACHIE,         NJ

                                               10:25     AM



                                               Delivered

                                               HACKENSACK, NJ



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   OUR COMPANY


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                                            Exhibit 1- Detail Supporting Cure Objection Page 14 of 22

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 After printing this label:
 1. Use the 'Print' button on this page to print your label to your laser or inkjet printer.
 2. Fold the printed page along the horizontal line.
 3. Place label in shipping pouch and afx it to your shipment so that the barcode portion of the label can be read and scanned.

 Warning: Use only the printed original iabei for shipping. Using a photocopy of this iabei for shipping purposes is fraudulent and could result in additional biiling charges, along with the cancellation of your
 FedEy   account   number.
 Use of this system constitutes your agreement to the service conditions in the current FedEx Service Guide, available on fedex.com.FedEx will not be responsible for any claim in excess of $100 per
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 loss.Maximum for items of extraordinary value is $1,000, e.g. jewelry, precious metals, negotiable instruments and other items listed in our ServiceGuide. Written claims must be filed within strict time limits,
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                                                        Exhibit 1- Detail Supporting Cure Objection Page 16 of 22

   FedEx. Tracking                                                                                        TrackAnotherShipment Help


   DELIVERED                                                                          DELIVERY   STATUS


   M O n d ay                                                                         Delivered
                                                                                             0
   4/17/2023            at 9:52 am
   Signed for by: A.TATE

   i" Obtain Proof of delivery


    How was your delivery?

    7333531231}???
   TRACKING      ID


   397016206313
           5? ‘
                 FROM

                 Bethesda, MD US

                Label    Created

                 4/14/2023      10:16 AM


                 PACKAGE       RECEIVED      BY FEDEX

                 ROCKVILLE, MD
                 4/14/2023     4:27 PM


                 IN TRANSIT

                 UNION, NJ
                 4/17/2023      8:24AM


                 OUT     FOR   DELIVERY

                 UNION, NJ
                 4/17/2023      8:24 AM


                 DELlVERED

                 Union, NJ US

                 Delivered

                 4/17/2023      at 9:52 AM



                 xi View travel history


    Want updates on this shipment? Enter your email and we will do the rest!

       YOUR      EMAIL



     MORE      OPTlCNS




        Manage Delivery




   Shipment facts
   $ Shipmentoverview
     TRACKING         NUMBER                               397016206313


     DELIVERED          TO                                 Shipping/Receiving

     SHIP DATEQ‘:                                          4/14/23

     STANDARD TRANSIT®                                     4/17/23   before 4:30 pm

     ACTUAL       DELIVERY                                 4/17/23   at 9:52 am


   Q8 Services
     SERVICE                                               FedEx Standard Overnight

     TERMS                                                 Shipper

     SPECIAL      HANDLING         SECTION                 Deliver Weekday


    E3 Packagedetails
      WEIGHT                                               0.5 lbs / 0.23 kgs

      TOTAL     PIECES                                     1


      TOTAL     SHIPMENT       WEIGHT                      0.5 lbs / 0.23 kgs

      PACKAGING                                            FedEx Envelope



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                                 Exhibit 1- Detail Supporting Cure Objection Page 17 of 22

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     Friday, 4/14/2023                         10:16AM



                                               Shipment information sent to FedEx

                                               4:27    PM



                                               Shipment arriving On-Time
                                               ROCKVILLE, MD

                                               4:27    PM



                                               Picked    up

                                               ROCKVILLE, MD

                                               9:10    PM



                                               Left FedEx origin facility
                                               ROCKVILLE, MD

                                               11:28     PM



                                               Arrived       at FedEx   hub

                                               MEMPHIS, TN




     Saturday, 4/15/2023                       2:56 AM



                                               Departed FedEx hub
                                               MEMPHIS, TN

                                               6:03 AM



                                               Arrived       at FedEx   hub

                                               NEWARK. NJ

                                               9:57 AM



                                               At local FedEx facility
                                               Package not due for delivery
                                               UNION, NJ

                                               4:33     PM



                                               At local FedEx facility
                                               UNION, NJ



                                               5:57 AM
     Monday, 4/17/2023

                                               At local FedEx facility
                                               UNION, NJ

                                               8:24 AM



                                               On FedEx vehicle for delivery
                                               UNION, NJ

                                               8:24 AM



                                               At local FedEx facility
                                               UNION, NJ

                                               9:52 AM



                                               Delivered

                                               Union, NJ


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 1. Use the 'Print‘ button on this page to print your label to your laser or inkjet printer.
 2. Fold the printed page along the horizontal line.
 3. Place label in shipping pouch and afx it to your shipment so that the barcode portion of the label can be read and scanned.

 Warning: Use only the printed original label (or shipping. Using a photocopy of this label for shipping purposes is fraudulent and could result in additional billing charges, along with the cancellation of your
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 Use of this system constitutes your agreement to the service conditions in the current FedEx Service Guide, available on fedex.com.FedEx will not be responsible for any claim in excess of $100 per
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 claim.Limitations found in the current FedEx Service Guide apply. Your right to recover from FedEx for any loss, including intrinsic value of the package, loss of sales, income interest, prot, attorney's fees,
 costs, and other forms of damage whether direct. incidenta|,consequential, or special is limited to the greater of $100 or the authorized declared value. Recovery cannot exceed actual documented
 loss.Maximum for items of extraordinary value is $1,000, e.g. jewelry, precious metals, negotiable instruments and other items listed in our ServiceGuide. Written claims must be led within strict time limits,
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                                   Exhibit 1- Detail Supporting Cure Objection Page 20 of 22

    FedExmTracking                                                                                       Track Another Shipment



    DELIVERED                                                                        DELIVERY   STATUS


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    Monday
    4/17/2023             at 9:52am
    Signed for by: A.TATE

    :— Obtain Proof of delivery


     How was your delivery?

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    TRACKING      ID


    397015946905
            ,5?{i
                  FROM

                  Bethesda, MD US

                  Label    Created

                  4/14/202310212          AM


                  PACKAGE        RECEIVED      BY FEDEX

                  ROCKVILLE, MD
                  4/14/2023       4:27 PM


                  IN TRANSIT

                  UNION, NJ
                  4/17/2023       8:24 AM


                  OUT      FOR   DELIVERY

                  UNION, NJ
                  4/17/2023       8:24 AM


                  DELIVERED

                  Union, NJ US

                  Delivered

                  4/17/2023       at 9:52 AM


                  J. View travel history


     Want updates on this shipment? Enter your email and we will do the rest!

        YOUR      EMAIL                                                                                                 SUBMIT


     MORE       OPTIONS




         Manage Delivery




    Shipment facts
    ® Shipmentoverview
      TRACKING          NUMBER                            397015946905


      DELIVERED           TO                              Shipping/Receiving

      SHIP DATE®                                          4/14/23

      STANDARD TRANSIT {3                                 4/17/23   before 4:30 pm

      ACTUAL      DELIVERY                                4/17/23 at 9:52 am


    E13Services
      SERVICE                                             FedEx Standard Overnight

      TERMS                                               Shipper

      SPECIAL      HANDLING          SECTION              Deliver Weekday


    [C33
       Packagedetails
      WEIGHT                                              0.5 lbs/O.23 kgs

      TOTAL      PIECES                                   1


      TOTAL      SHIPMENT        WEIGHT                   0.5 lbs / 0.23 kgs

      PACKAGING                                           FedEx Envelope


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                                  Exhibit 1- Detail Supporting Cure Objection Page 21 of 22

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                                                                                                                          Local Scan Time
                                                                                   Ascending


                                               10:12AM
     Friday, 4/14/2023

                                               Shipment information sent to FedEx

                                               4:27    PM



                                               Shipment arriving On-Time
                                               ROCKVILLE, MD

                                               4:27    PM



                                               Picked    up

                                               ROCKVILLE, MD

                                               9:10    PM



                                               Left FedEx origin facility
                                               ROCKVILLE, MD

                                               11:28     PM



                                               Arrived      at FedEx hub

                                               MEMPHIS. TN




     Saturday, 4/15/2023                       2:56 AM



                                               Departed FedEx hub
                                               MEMPHIS, TN

                                               6:03    AM



                                               Arrived      at FedEx hub

                                               NEWARK, NJ


                                               9:48 AM



                                               At local FedEx facility
                                               Package not due for delivery
                                               UNION, NJ

                                               4:33    PM



                                               At local FedEx facility
                                               UNION, NJ



                                               5:52 AM
     Monday, 4/17/2023

                                               At local FedEx facility
                                               UNION, NJ

                                               8:24 AM



                                               On FedEx vehicle for delivery
                                               UNION, NJ

                                               8:24    AM



                                               At local FedEx facility
                                               UNION, NJ

                                               9:52 AM



                                               Delivered

                                               Union, NJ


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